Case 2:19-bk-14989-WB   Doc 421 Filed 11/05/19 Entered 11/05/19 14:57:26   Desc
                         Main Document    Page 1 of 8
Case 2:19-bk-14989-WB   Doc 421 Filed 11/05/19 Entered 11/05/19 14:57:26   Desc
                         Main Document    Page 2 of 8




                        EXHIBIT A
Case 2:19-bk-14989-WB             Doc 421 Filed 11/05/19 Entered 11/05/19 14:57:26                            Desc
                                   Main Document    Page 3 of 8



  1 John B. Quinn (Bar No. 90378)
    johnquinn@quinnemanuel.com
  2 Crystal Nix-Hines (Bar No. 2482073)
    crystalnixhines@quinnemanuel.com
  3 Eric Winston (Bar No. 202407)
    ericwinston@quinnemanuel.com
  4 Jennifer L. Nassiri (Bar No. 209796)
    jennifernassiri@quinnemanuel.com
  5 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    865 S. Figueroa St., 10th Floor
  6 Los Angeles, CA 90017
    Telephone: (213) 443-3000
  7 Facsimile: (213) 443-3100

  8 Attorneys for Secured Creditor,
    HILLAIR CAPITAL MANAGEMENT, LLC
  9

 10                                  UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
 11
                                                LOS ANGELES DIVISION
 12
      In re                                                        CASE NO. 2:19-by-14989-WB
 13                                                                Jointly Administered:
      SCOOBEEZ, et al.1                                            2:19-bk-14991-WB; 2:19-bk-14997-WB
 14
               Debtors and Debtors in Possession.                  Chapter 11
 15
      Affects:                                                     [PROPOSED] ORDER DENYING
 16                                                                AMAZON LOGISTICS’ MOTION FOR A
           All Debtors                                            PROTECTIVE ORDER QUASHING
 17                                                                DOCUMENT REQUESTS AND
           Scoobeez, ONLY                                         DEPOSITION NOTICES PROPOUNDED
 18                                                                BY HILLAIR CAPITAL MANAGEMENT,
           Scoobeez Global, Inc., ONLY                            LLC.
 19
           Scoobur, LLC, ONLY                                     Date: November 4, 2019
 20                                                                Time: 2:00 p.m.
                                                                   Ctrm: 1375
 21                                                                       United States Bankruptcy Court
                                                                          Edward Roybal Federal Building
 22                                                                       255 E. Temple Street
                                                                          Los Angeles, CA 90012
 23                                                                       The Hon. Julia Brand

 24

 25

 26
          1
              The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
 27 Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
      Boulevard, Glendale, California 91214.
 28


                       ORDER DENYING AMAZON LOGISTICS’ MOTION FOR PROTECTIVE ORDER
Case 2:19-bk-14989-WB       Doc 421 Filed 11/05/19 Entered 11/05/19 14:57:26                 Desc
                             Main Document    Page 4 of 8



  1         On November 4, 2019 at 2:00 p.m. in Courtroom 1375 of the above entitled Court, with

  2 the Honorable Julia Brand, judge presiding, a hearing was conducted on Amazon Logistics, Inc.’s

  3 Motion For a Protective Oder Quashing Document Requests and Deposition Notices Propounded

  4 by Hillair Capital Management, LLC (“Motion”) filed on October 31, 2019 [ECF No.405].

  5         The Court having read and considered the Motion, the opposition to the Motion (the

  6 “Opposition”) filed by Hillair Capital Management, LLC (“Hillair”) [ECF No. 413], all pleadings

  7 and papers filed in connection with the Motion and Opposition, the arguments of counsel present

  8 at the hearing; and the Court finding that notice and service of the Motion was proper and in

  9 accordance with this Court’s Order Granting Application and Setting Hearing on Shortened

 10 Notice entered on November 1, 2019 [ECF No. 407] and good cause appearing therefor;

 11
      IT IS HEREBY ORDERED THAT:
 12
                1. The Motion is denied.
 13
                2. The Court retains jurisdiction to interpret and enforce the terms of this Order.
 14

 15 Approved as to form:

 16 Morgan, Lewis & Brockius LLP

 17
    By: /s/ Richard Esterkin___
 18 Richard Esterkin
    Attorneys for Amazon Logistics, Inc.
 19

 20 Quinn Emanuel Urquhart & Sullivan, LLP

 21
    By: /s/ Eric Winston_____
 22 Eric Winston
    Attorneys for Hillair Capital Management, LLC
 23
                                                 ###
 24

 25

 26

 27

 28


                   ORDER DENYING AMAZON LOGISTICS’ MOTION FOR PROTECTIVE ORDER
Case 2:19-bk-14989-WB   Doc 421 Filed 11/05/19 Entered 11/05/19 14:57:26   Desc
                         Main Document    Page 5 of 8
Case 2:19-bk-14989-WB       Doc 421 Filed 11/05/19 Entered 11/05/19 14:57:26             Desc
                             Main Document    Page 6 of 8



     1. To Be Served By The Court Via Notice Of Electronic Filing (NEF)

Akop J Nalbandyan on behalf of Creditor Roy Anthony Catellanos
jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com

Akop J Nalbandyan on behalf of Interested Party INTERESTED PARTY
jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com

Alvin Mar on behalf of U.S. Trustee United States Trustee (LA) alvin.mar@usdoj.gov,
dare.law@usdoj.gov

Anthony J Napolitano on behalf of Creditor Hillair Capital Management LLC
anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com

Aram Ordubegian on behalf of Interested Party Courtesy NEF ordubegian.aram@arentfox.com

Ashley M McDow on behalf of Plaintiff Scoobeez, Inc. amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Ashley M McDow on behalf of Debtor Scoobur LLC amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Ashley M McDow on behalf of Debtor Scoobeez amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Ashley M McDow on behalf of Debtor Scoobeez Global, Inc. amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
Trust UTD 3/25/1988 davidlallylaw@gmail.com

David Brian Lally on behalf of Attorney Grigori Sedrakyan davidlallylaw@gmail.com

David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill L.L.P.
dln@lnbyb.com

David L. Neale on behalf of Creditor Committee Official Committee of Unsecured Creditors
dln@lnbyb.com

David L. Neale on behalf of Attorney Official Committee Of Unsecured Creditors
dln@lnbyb.com

Eric D Winston on behalf of Creditor Hillair Capital Management, LLC
ericwinston@quinnemanuel.com

Eric K Yaeckel on behalf of Creditor Arturo Vega yaeckel@sullivanlawgroupapc.com

Gregory M Salvato on behalf of Interested Party INTERESTED PARTY
gsalvato@salvatolawoffices.com,


99999-01310/11167347.1
Case 2:19-bk-14989-WB        Doc 421 Filed 11/05/19 Entered 11/05/19 14:57:26              Desc
                              Main Document    Page 7 of 8



calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.co
m

Gregory M Salvato on behalf of Creditor Azad Baban gsalvato@salvatolawoffices.com,
calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.co
m

Hamid R Rafatjoo on behalf of Creditor Shahan Ohanessian hrafatjoo@raineslaw.com,
bclark@raineslaw.com;cwilliams@raineslaw.com

Jeffrey S Shinbrot on behalf of Creditor Shahan Ohanessian jeffrey@shinbrotfirm.com,
sandra@shinbrotfirm.com

Jennifer L Nassiri on behalf of Creditor Hillair Capital Management, LLC
jennifernassiri@quinnemanuel.com

John-Patrick M Fritz on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill L.L.P.
jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Creditor Committee Official Committee of Unsecured
Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Plaintiff Official Committee of Unsecured Creditors of the
Estates of Scoobeez and Scoobeez Global, Inc. jpf@lnbyb.com,
JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Attorney Official Committee Of Unsecured Creditors
jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

Kevin H Morse on behalf of Creditor Avitus Group, Inc. kmorse@clarkhill.com,
blambert@clarkhill.com

Kimberly Walsh on behalf of Creditor Texas Comptroller of Public Accounts bk-
kwalsh@texasattorneygeneral.gov

Rejoy Nalkara on behalf of Creditor BMW Financial Services NA, LLC, c/o AIS Portfolio
Services, LP rejoy.nalkara@americaninfosource.com

Richard T Baum on behalf of Stockholder Rosenthal Family Trust rickbaum@hotmail.com,
rickbaum@ecf.inforuptcy.com

Richard W Esterkin on behalf of Creditor Amazon Logistics, Inc.
richard.esterkin@morganlewis.com

Richard W Esterkin on behalf of Defendant Amazon Logistics, Inc.
richard.esterkin@morganlewis.com




99999-01310/11167347.1
Case 2:19-bk-14989-WB        Doc 421 Filed 11/05/19 Entered 11/05/19 14:57:26              Desc
                              Main Document    Page 8 of 8



Riebert Sterling Henderson on behalf of Interested Party Courtesy NEF
shenderson@gibbsgiden.com

Shane J Moses on behalf of Plaintiff Scoobeez, Inc. smoses@foley.com

Shane J Moses on behalf of Debtor Scoobeez smoses@foley.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. dba Bentley Financial
Services smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. smiller@tharpe-
howell.com

Stacey A Miller on behalf of Creditor Porsche Leasing Ltd. smiller@tharpe-howell.com

Steven M Spector on behalf of Creditor Hillair Capital Management LLC
sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com

United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

Vivian Ho on behalf of Creditor FRANCHISE TAX BOARD
BKClaimConfirmation@ftb.ca.gov




99999-01310/11167347.1
